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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   9
  10   TERESA TURLEY                             Civil Action No. SACV 13-1528 GAF
                                                 (JCx)
  11
                       Plaintiff,
  12                                             ORDER
  13   v.
  14   EXPERIAN INFORMATION
  15   SOLUTIONS, INC. AND
       ADVANTAGE CREDIT
  16   BUREAU, INC.
  17
                      Defendants.
  18
  19
  20          This matter, having come before the Court upon presentation of a Joint
  21   Stipulation of Dismissal, it is hereby ORDERED that:
  22          Defendant Experian Information Solutions, Inc. is dismissed with prejudice,
  23   with each party to bear her/its own attorney’s fees, costs and expenses incurred.
  24          Dated: October 21, 2014
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                                              _____________________________
  26                                          GARY A. FEESS,    U.S.D.J.
  27   JS-6
                                                1
                                              ORDER
